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          MINUTES OF THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN MARIANA ISLANDS

CV-09-0019                                                     September 10, 2009
                                                               8:55 a.m.


              RANDALL T. FENNELL -v- MATTHEW T. GREGORY, et al

PRESENT:            Hon. Alex R. Munson, Chief Judge Presiding
                    Patricia Garshak, Court Reporter
                    K. Lynn Lemieux, Courtroom Deputy
                    Mark Hanson, Attorney for Plaintiff
                    Braddock Huesman, Attorney for Defendant


PROCEEDINGS:        Motion to Dismiss

      Plaintiff was represented in court by Attorney Mark Hanson.       Defendants were
represented by Attorney Braddock Huesman.

     Attorney Huesman argued the motion on behalf of the defendants. Attorney
Hanson argued for the Plaintiff.

        Court, after hearing all argument, took the matter under advisement and stated that
a written decision would be forthcoming.

                                                 Adjourned 10:00 a.m.



                                                 /s/ K. Lynn Lemieux, Courtroom Deputy
